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                      Exhibit P
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                                                 Wednesday, October 20, 2021 at 11:13:17 Paciﬁc Daylight Time


Subject: RE: Follow Up - 18cv8240-RGK
Date: Wednesday, October 13, 2021 at 5:26:06 PM Paciﬁc Daylight Time
From: Boyle, Daniel (USACAC)
To:      Whitney Bernstein
CC:      Ramachandran, Seetha, Thomas H. Bienert, Paul John Cambria, Jr , Erin McCampbell Paris, Gary S.
         Lincenberg, Gopi K. Panchapakesan, Ariel A. Neuman, Bruce Feder, Daniel J. Quigley
         (quigley@djqplc.com), Rapp, Kevin (USAAZ)

Whitney-

Following up on your request to release approximately $407k in funds seized from account ending ‘4862:

         Aeer further review, the ‘4862 seized funds don’t appear to be implicated by the “clerical error”
issue which led to the March 2020 sipulaion to return funds. That purported error occurred in May of 2017,
but as detailed in the FACMC laying out the government’s theory as to the ‘4862 account, this account
received tainted funds between September and December of 2017 via the WFB ‘9863, and the ‘9863 account
was alleged to be a pass-through account which received funds traceable to an AD Tech BV bank account in
the Netherlands. See FACMC ¶ 154; 156(b) (“Between September 20, 2017 and December 8, 2017, Account
‘9863 transferred approximately $944,729.25 among seven transacions into Account 3 [i.e. the ‘4862
Account].”); 177(d) (“On December 27, 2016, the Netherlands Account transferred $199,970.00 to Account 2,
which account then transferred funds through Account ‘9863 and into Account 3”). While a speciﬁc amount is
not alleged in the FACMC in ¶ 154, based on a review of account records, at least one September 2017 check
for approximately $83k (check number 1472) was transferred from the ‘3873 account into the ‘9863 account,
and then on to the ‘4862 account, through the transfers described above. Because the ‘4862 account was
funded in part from the ‘9863 account, we do not agree that the ‘4862 account contained no funds traceable
to Backpage’s operaions. If any of this tracing does not appear factually correct, please let me know.

         With respect to the prior sipulaion with your client in January 2020, I’ve reviewed that sipulaion
and nowhere did government acknowledge “that the Compass Bank Account ‘4682 contained exclusively
print newspaper proceeds.” In any event, that sipulaion occurred in January of 2020, prior to the ﬁling to
the FACMC in June of 2020, which is the operaive pleading at this ime and includes the above-quoted
allegaions.

         Finally, with respect to Judge Klausner’s order regarding discovery, I believe that it would make sense
to reopen discovery on a limited basis as needed following the resoluion of the criminal case. Because we
currently don’t know how the criminal case will resolve and what (if any) discovery would be necessary in any
remaining civil proceedings, I believe it would be premature to seek relief at this ime. I don’t think the Court
would deny a sipulated moion to reopen discovery once the paries know what the scope of any such
discovery would be.

Regards,

Dan G. Boyle | Assistant United States Attorney
United States Attorney’s Office | Central District of California
1400 United States Courthouse | 312 North Spring Street | Los Angeles, California 90012
T: 213.894.2426| F: 213.894.0141 | daniel.boyle2@usdoj.gov


From: Whitney Bernstein <wbernstein@bklwlaw.com>
Sent: Wednesday, September 29, 2021 5:47 PM


                                                                                                           Page 1 of 6
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To: Boyle, Daniel (USACAC) <DBoyle@usa.doj.gov>
Cc: Ramachandran, Seetha <SRamachandran@proskauer.com>; Thomas H. Bienert <tbienert@bklwlaw.com>;
Paul John Cambria, Jr <pcambria@lglaw.com>; Erin McCampbell Paris <eparis@lglaw.com>; Gary S.
Lincenberg <glincenberg@birdmarella.com>; Gopi K. Panchapakesan <gpanchapakesan@birdmarella.com>;
Ariel A. Neuman <aneuman@birdmarella.com>; Bruce Feder <bf@federlawpa.com>; Daniel J. Quigley
(quigley@djqplc.com) <quigley@djqplc.com>; Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>
Subject: [EXTERNAL] Re: Follow Up - 18cv8240-RGK

Hi Dan,

Thank you very much for your prompt reply. We clearly disagree with you on the merits of CACD USAO’s
posiion. But to the extent we bring any moions on these three issues, we agree that they should be brought
to Judge Brnovich in either US v. Lacey, et al. or US v. Backpage.com (probably US v. Lacey, et al.).

To clarify our request for the return of (3) print newspaper proceeds enirely disconnected from
Backpage.com, we are referring to at least Cereus Properies LLC VMG Depository account at Compass Bank
under Account No. ‘4862. We seek the return of this account because these assets are exclusively print
newspaper proceeds. CACD USAO recognized this in the past when it returned funds from one of Mr. Larkin’s
accounts. CACD USAO returned these funds because Mr. Larkin’s account contained only disbursements from
the Compass Bank Account ‘4682, and the government acknowledged that the Compass Bank Account ‘4682
contained exclusively print newspaper proceeds. Under this same theory, we seek the return of at least
$407,686.14 from Account ‘4862. Also under the same theory that print newspaper proceeds disconnected
from Backpage.com should be returned, Mr. Lacey seeks the release of the rest of the funds at issue in his
moion (Docs. 22-24 in 18cv6742).

Hopefully this clears up the third issue. If a phone call would be helpful, we are happy to speak. Please let us
know by end of day on Oct. 4 if CACD USAO will be releasing the print newspaper proceeds enirely
disconnected from Backpage.com.

Thank you again for your consideraion,

Whitney


Whitney Z. Bernstein
Partner | Orange County
Bienert Katzman Littrell Williams LLP
Website | vCard | Profile




From: Boyle, Daniel (USACAC) <Daniel.Boyle2@usdoj.gov>
Date: Wednesday, September 29, 2021 at 11:28 AM
To: Whitney Bernstein <wbernstein@bklwlaw.com>
Cc: Ramachandran, Seetha <SRamachandran@proskauer.com>, Thomas H. Bienert
<tbienert@bklwlaw.com>, Paul John Cambria, Jr <pcambria@lglaw.com>, Erin McCampbell Paris
<eparis@lglaw.com>, Gary S. Lincenberg <glincenberg@birdmarella.com>, Gopi K. Panchapakesan
<gpanchapakesan@birdmarella.com>, Ariel A. Neuman <aneuman@birdmarella.com>, Bruce Feder
<bf@federlawpa.com>, Daniel J. Quigley (quigley@djqplc.com) <quigley@djqplc.com>, Rapp, Kevin
(USAAZ) <Kevin.Rapp@usdoj.gov>

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Subject: RE: Follow Up - 18cv8240-RGK

Whitney-

Please ﬁnd below our responses to your emails of September 23rd and 24th. As you’ll see, we’re silling
running down your third point, but we’re tried to respond by your requested date.

      With respect to your ﬁrst point, the government’s posiion remains the same as it was when claimants
      sought an indeﬁnite stay of the criminal case in April of 2020 based on a purported need for atorney’s
      fees (see ECF No. 104, a 6-7): the claimants have not yet atempted to make the required showing
      under United States v. Unimex, Inc., 991 F.2d 546, 551 (9th Cir. 1993), which the paries and Judge
      Klausner appear to agree is the governing law on this issue in this circuit. See ECF No. 106, at 2. While
      the paries may disagree about the appropriate showing necessary to obtain a hearing for Monsanto
      relief, such a showing is certainly more than atorney argument. If your clients wish to discuss a
      brieﬁng schedule in order to seek to make a Unimex showing, please let me know. Alternately, because
      certain of the assets you ideniﬁed are subject to a pending moion before Judge Brnovich (see D.Az
       Case No. 18-cr-465, ECF No. 45) we would not object if the claimants wish to make an applicaion in
      the District of Arizona, as Unimex will apply in either forum, and we can discuss whether such an
      applicaion is best brought in case 18-cr-422 or case 18-cr-465.
             Separately, to the extent that your clients object that a complaint has not been ﬁled against
             certain of these assets (I note that certain assets you menion are already ideniﬁed in the
             FACMC, such as the $2,412,785.47 found in paragraph 10 of the same), the government
             anicipates ﬁling a complaint against those assets by no later than November 8, 2021, and we
             can address a schedule for brieﬁng any moions you may be contemplaing.
      With respect to your second point, this demand ignores bedrock law on the forfeiture of commingled
      criminal assets, and has no merit. The government’s posiion is that, taking all of the allegaions in the
      FACMC as true, the claimants are not enitled to the return of any funds.
      With respect to your third point, we are reviewing the tracing of this asset and I expect we will be able
      to discuss it fully within the next week. To clarify – your email references “Cereus Properies LLC VMG
      Depository Account ‘4860” but I’m not aware of any seized assets from a ‘4860 account. We are
      working under the assumpion that you were referring to Compass Bank Account '4862, but please let
      me know if that’s wrong. While I was not part of the discussions around the prior consent judgment
      with your client, the government has been willing to return assets in this case where the defendants
      raised meritorious issues with the government’s tracing, and we remain willing to do so now. Your
      email does reference the prior consent judgment with claimant Lacey to resolve the so-called “clerical
      error” funds, and we are working under the assumpion that same clerical error is the basis of your
      concerns with this asset. Please let me know if that is incorrect.

Regards,
Dan G. Boyle | Assistant United States Attorney
United States Attorney’s Office | Central District of California
1400 United States Courthouse | 312 North Spring Street | Los Angeles, California 90012
T: 213.894.2426| F: 213.894.0141 | daniel.boyle2@usdoj.gov


From: Whitney Bernstein <wbernstein@bklwlaw.com>
Sent: Thursday, September 23, 2021 12:08 PM
To: Boyle, Daniel (USACAC) <DBoyle@usa.doj.gov>
Cc: Ramachandran, Seetha <SRamachandran@proskauer.com>; Thomas H. Bienert <tbienert@bklwlaw.com>;
Paul John Cambria, Jr <pcambria@lglaw.com>; Erin McCampbell Paris <eparis@lglaw.com>; Gary S.

                                                                                                           Page 3 of 6
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Lincenberg <glincenberg@birdmarella.com>; Gopi K. Panchapakesan <gpanchapakesan@birdmarella.com>;
Ariel A. Neuman <aneuman@birdmarella.com>; Bruce Feder <bf@federlawpa.com>; Daniel J. Quigley
(quigley@djqplc.com) <quigley@djqplc.com>
Subject: [EXTERNAL] Follow Up - 18cv8240-RGK

Hi Dan,

Thank you for speaking on Tuesday. Given the mistrial in the Arizona criminal case and the mulitude of
issues that raises, including the need for addiional liigaion and perhaps a retrial, we need CACD USAO to
return at least some of the funds it has seized.

To be clear, we believe we are legally enitled to the return of all seized assets, but are now focusing on three
categories for purposes of this conversaion. These three categories include (1) atorney retainer funds,
including those in the pending Magistrate cases, totaling over $16 million, (2) assets owed to Defendants
even assuming arguendo that CACD USAO’s posiion in 18cv8420 is accurate, and (3) print newspaper
proceeds enirely disconnected from Backpage.com.

As to (1) atorney retainer funds, including those in the pending Magistrate cases, totaling over $16 million,
we seek return of:

 CASE NO.            LAW FIRM FROM WHICH MONEY WAS SEIZED                   AMOUNT SEIZED
 18mj02031           Davis Wright Tremaine                                  3,713,121.03
 18mj02872           Rusing Lopez & Lizardi PLLC                            5,279,173.07
 18mj02874           Perkins Coie LLP                                       2,167,704.86
 18mj02030           Becker & House PLLC                                    2,412,785.47
 18mj02875           Piccarreta Davis Keenan Fidel PC                       10,000.00
 18mj02876           Piccarreta Davis Keenan Fidel PC                       740,000.00
 18mj02880           Keker Van Nest & Peters                                500,000.00
 18mj02883           Mitchell Stein Carey Chapman PC                        100,000.00
 18mj02883           Mitchell Stein Carey Chapman PC                        100,000.00
 18mj02878           Karp & Weiss PC                                        250,000.00
 18mj02873           Copeland Franco Screws & Gill                          100,000.00
 18mj02879           David B. Smith PLLC                                    10,000.00
 18mj02880           McDermot Will & Emery LLP                              100,000.00
 18mj02880           Prince Lobel Tye LLP                                   100,000.00
 18mj02874           Thompson Coburn LLP                                    100,000.00
 18mj02875           Lawrence G Walters PA                                  100,000.00
 18mj02875           Akin Gump Strauss Hauer & Field LLP                    250,000.00
 18mj02877           Scheef & Stone LLP                                     25,000.00
 18mj02875           Wayne B Giampietro LLC                                 100,000.00

These seizures are an aﬀront to the Sixth Amendment and have, as the government intended, severely
handicapped our ability to defend the criminal case in the District of Arizona. CACD USAO cannot coninue to
hold these seized atorney funds pretrial given the mistrial and ensuing liigaion the government caused last
week in Arizona.

These seizures are also problemaic because the government has not traced these atorney funds to
demonstrate that the government has the right to hold this money as arguable criminal proceeds for years,
pretrial, amidst various criminal and civil cases brought by the government. Recall that your predecessor at
CACD USAO threatened to seize these law ﬁrms’ enire IOLTA accounts if they did not turn over the amount

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CACD USAO sought. Mitchell Stein Carey Chapman PC, for example, wired funds to the government to
comply with this subpoena on November 13, 2018 at 1:34pm PT. The Court in CACD then issued a stay order
nine minutes later at 1:43pm PT. When Mitchell Stein Carey Chapman PC then tried to recall the funds at
2:00pm PT that day, your predecessor at CACD USAO refused to permit the recall despite the Court’s stay
order.

Further, the seizures are also impermissible as CACD USAO has never ﬁled a sworn, veriﬁed complaint
supporing its belief that it can seize these funds in the nearly three years and couning that the government
has held these atorney funds.

Accordingly, we seek the return of all atorney funds.

As to (2) assets owed to Defendants even assuming arguendo that CACD USAO’s posiion in 18cv8420 is
accurate, we seek the return of at least $13,633,946.20. CACD USAO has argued that “more than 90 percent
of Backpage’s revenue” “[b]etween 2004 and April 2018” came from Backpage.com’s “adult category,” which
CACD USAO contends generated criminal proceeds subject to forfeiture. See 18cv8420 at Dkt. 108, First
Amended Consolidated Master Veriﬁed Complaint, at paragraph 107. While we disagree and know that the
facts and objecive evidence will show this statement is completely inaccurate, for purposes of the funds we
believe must be released at this juncture, we are seeking that which the government has no right to even
under its own theory. The government has seized at least $136,339,462.65 in liquid assets, though the true
number is much higher because (a) this does not include the numerous real properies the government has
seized, (b) most assets have appreciated since the seizures, and (c) we lack the exact amount seized as many
seizures were listed as “any and all funds in the account” and are thus unaccounted for in this total.
Accordingly, we request the return right now of the 10% the government admits it has no right to hold, which
is conservaively at least $13,633,946.20.

Finally, as to (3) print newspaper proceeds enirely disconnected from Backpage.com, the $407,686.14 seized
in 18mj1863 and paragraph 99 of the First Amended Consolidated Master Veriﬁed Complaint (18cv840 at Dkt.
108) from Cereus Properies LLC VMG Depository Account ‘4860 represents proceeds of print newspaper
sales and has no relaion whatsoever to Backpage.com. Acknowledging this, your oﬃce previously returned
funds to James Larkin from his Republic Bank of Arizona Account ‘1938 seized in 18cv8420 that contained
disbursements from Cereus Properies LLC VMG Depository Account ‘4860. Because the $407,686.14 funds
in paragraph 99 of Dkt. 108 (formerly 18mj1863) are also proceeds of print newspaper sales and have no
relaion to Backpage.com, CACD USAO should also return this $407,686.14.

Similarly, as Michael Lacey has previously demonstrated, the funds at issue in the Moion for Release (In re
Any and All Funds Held in Republic Bank of Arizona Accts. x1889, 18-cv-6742 Docs. 22-24), are also
solely newspaper proceeds and should be released in their enirety. Indeed, as CACD USAO has recognized,
assets procured with newspaper money should not be subject to pretrial seizure.

We appreciate your consideraion, and we request your oﬃce’s posiion by end of day on Wednesday,
September 29 so that we have ime to pursue this conversaion at DOJ Main if need be.

Thank you,

Whitney


Whitney Z. Bernstein
Partner | Orange County
Bienert Katzman Littrell Williams LLP

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Bienert Katzman Littrell Williams LLP
Website | vCard | Profile

Los Angeles | 601 W. 5th Street, Suite 720 | Los Angeles, CA 90071 | (213) 528-3400
Orange County | 903 Calle Amanecer, Suite 350 | San Clemente, CA 92673 | (949) 369-3700

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